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 1                                                                          Judge Robart
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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     UNITED STATES OF AMERICA,                 )
11                                             )       NO. CR05-331JLR
                          Plaintiff,           )
12                                             )
                   v.                          )
13                                             )
     JESUS CERVANTES-BRAVO,                    )       ORDER CONTINUING
14   GONZALO RODRIGUEZ, and                    )       TRIAL DATE AND PRETRIAL
     JOSÉ FRANCISCO RODRIGUEZ,                 )       MOTIONS DATE
15                                    )
                     Defendants.      )
16   _________________________________)
17          THIS MATTER comes before the Court on a motion by defendants Gonzalo
18   Rodriguez and José Francisco Rodriguez, joined in by the United States, to continue the
19   trial date and the pretrial motions cut-off date. Having considered the entirety of the
20   record and files herein, the Court finds that failure to grant a continuance would likely
21   result in a miscarriage of justice. The case is unusual and complex. The defendants were
22   originally charged with 14 other defendants in CR05-281JLR, but a separate Indictment
23   was returned on September 8, 2005. All of the defendants are in custody and Spanish-
24   speaking. The evidence in this case is derived from a larger investigation, and includes a
25   large number of intercepted telephone conversations in Spanish, and over 300 pages of
26   reports from federal agents and state officers. Several pretrial motions have been filed
27   and are pending.
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     Order of Continuance – 1                                                     UNITED STATES ATTORNEY
     Cervantes-Bravo, et al/CR05-331JLR                                            700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
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 1          It is unreasonable to expect adequate preparation for trial before the current trial
 2   date, scheduled in CR05-281JLR, of September 17, 2005. The Court further finds that
 3   the interests of the public and the defendants in a speedy trial in this case are outweighed
 4   by the ends of justice.
 5          IT IS NOW, THEREFORE, ORDERED that trial in this matter be continued to
 6   October 24, 2005, and that the time between the date of this Order and the new trial date
 7   be excludable time under the Speedy Trial Act pursuant to Title 18, United States Code,
 8   Sections 3161(h)(8)(A), 3161(h)(8)(B)(i), and 3161(h)(8)(B)(ii).
 9          IT IS FURTHER ORDERED that pre-trial motions shall be filed on or before
10   September 28, 2005.
11          Dated this 3rd day of October, 2005.



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14                                                     JAMES L. ROBART
15
                                                       United States District Judge

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     Presented by:
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     s/Douglas B. Whalley
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     Order of Continuance – 2                                                      UNITED STATES ATTORNEY
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